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 4
     jcpallares@me.com
 5   Attorney For Defendant

 6
                                   UNITED STATES DISTRICT COURT
 7

 8                                           DISTRICT OF NEVADA

 9   THE UNITED STATES OF AMERICA,                   )
                                                     )
10
                                       Plaintiff,    )
11                                                   ) 2:15-mj-00256-VCF-2
     VS.                                             )
12                                                   )
     VICTOR HUGO QUINTERO-ZEPEDA,                    ) MOTION TO SUBSTITUTE ATTORNEY
13
                                                     )
14                                 Defendants.        )

15      COMES NOW, Defendant Victor Hugo Quintero-Zepeda, and hereby moves to substitute
16
     Jose C. Pallares, Esq., as my attorney in place and stead of the Office Of The Federal Public
17
     Defender, as of March 13, 2015.
18

19
         /s/ Victor Hugo Quintero-Zepeda
20      VICTOR HUGO QUINTERO-ZEPEDA
21

22
        I hereby acknowledge this substitution as of March 13, 2015.

23                /s/ Paul Riddle
            DEPUTY FEDERAL PUBLIC DEFENDER
24

25
        I hereby accept this substitution as retained counsel as of March 13, 2015. I am
26
     duly admitted in this District.
27

28           /s/ Jose C. Pallares, Esq.
             JOSE C. PALLARES, ESQ.


                                                        1
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 1

 2
                                                  ORDER
 3
        Jose C. Pallares, Esq., is hereby ordered substituted as counsel of record (retained)
 4

 5
     for defendant in place of the Office of the Federal Public Defender, (appointed)

 6   this 17th day of March, 2015.
 7
                                               _________________________________
 8                                              UNITED STATES MAGISTRATE JUDGE

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